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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


JAMES FERGUSON,                                     Civil No.: 0:18-cv-03075 (JRT/KMM)

                            Plaintiff,

vs.
                                                     ANSWER OF CENTURION
MINNESOTA           DEPARTMENT           OF             OF MINNESOTA, LLC
CORRECTIONS,           CENTURION         OF         TO PLAINTIFF’S COMPLAINT
MINNESOTA, LLC, and FRED McRAE
ROBERSON, M.D., in his individual and
official capacity for actions under color of
law as Plaintiff’s treating physician at
Minnesota Department of Corrections,

                            Defendants.


       Defendant Centurion of Minnesota, LLC (“Centurion”) for its Answer to

Plaintiff’s Complaint (ECF No. 1), states as follows:

       Centurion denies each and every allegation contained in Plaintiff’s Complaint

except as expressly admitted, denied, or qualified herein.

       1.     Paragraph 1 contains a summary and characterization of Plaintiff’s claims

to which no response is required. To the extent a response is required, Centurion states

that it is without sufficient information to form a belief as to the truth or falsity of the

allegations and, as a result, puts Plaintiff to his burden of proof. Centurion also refers to

Plaintiff’s medical records, which speak for themselves.

       2.     Centurion denies Paragraph 2 of Plaintiff’s Complaint.
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                                      JURISDICTION

       3.     Paragraph 3 contains legal conclusions to which no response is required.

                                          PARTIES

       4.     In response to Paragraph 4, Centurion states that it is without sufficient

information to form a belief as to the truth or falsity of the allegations and, as a result,

puts Plaintiff to his burden of proof.

       5.     Paragraph 5 is directed at another party such that no response is required by

Centurion. To the extent a response is required, Centurion states that it is without

sufficient information to form a belief as to the truth or falsity of the allegations and, as a

result, puts Plaintiff to his burden of proof.

       6.     Paragraph 6 is directed at another party such that no response is required by

Centurion. To the extent a response is required, Centurion states that it is without

sufficient information to form a belief as to the truth or falsity of the allegations and, as a

result, puts Plaintiff to his burden of proof.

       7.     Paragraph 7 is directed at another party such that no response is required by

Centurion. To the extent a response is required, Centurion states that it is without

sufficient information to form a belief as to the truth or falsity of the allegations and, as a

result, puts Plaintiff to his burden of proof.

       8.     In response to Paragraph 8, Centurion admits that it is a limited liability

corporation with its registered office located in St. Paul, Minnesota.

       9.     In response to Paragraph 9, Centurion admits that it provides health care



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services at certain Minnesota correctional facilities pursuant to an agreement, which

speaks for itself.

       10.     In response to Paragraph 10, Centurion admits that it provides health care

services at certain Minnesota correctional facilities pursuant to an agreement, which

speaks for itself.

       11.     In response to Paragraph 11, Centurion admits that it provides health care

services at certain Minnesota correctional facilities pursuant to an agreement, which

speaks for itself. Centurion states that Dr. Roberson was an employee of Centurion and

has provided services at the Faribault correctional facility.

       12.     Paragraph 12 is directed at another party such that no response is required

by Centurion. To the extent a response is required, Centurion states that it is without

sufficient information to form a belief as to the truth or falsity of the allegations and, as a

result, puts Plaintiff to his burden of proof.

       13.     In response to Paragraph 13, Centurion states that Dr. Roberson was an

employee of Centurion and has provided services at the Faribault correctional facility.

                                           FACTS

       14.     In response to Paragraph 14, Centurion states that it is without sufficient

information to form a belief as to the truth or falsity of the allegations and, as a result,

puts Plaintiff to his burden of proof. Centurion also refers to Plaintiff’s medical records,

which speak for themselves.

       15.     In response to Paragraph 15, Centurion states that it is without sufficient



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information to form a belief as to the truth or falsity of the allegations and, as a result,

puts Plaintiff to his burden of proof. Centurion also refers to Plaintiff’s medical records,

which speak for themselves.

       16.    Paragraph 16 is directed at another party such that no response is required

by Centurion. To the extent a response is required, Centurion states that it is without

sufficient information to form a belief as to the truth or falsity of the allegations and, as a

result, puts Plaintiff to his burden of proof. Centurion also refers to Plaintiff’s medical

records, which speak for themselves.

       17.    Paragraph 17 is directed at another party such that no response is required

by Centurion. To the extent a response is required, Centurion states that it is without

sufficient information to form a belief as to the truth or falsity of the allegations and, as a

result, puts Plaintiff to his burden of proof. Centurion also refers to Plaintiff’s medical

records, which speak for themselves.

       18.    Paragraph 18 is directed at another party such that no response is required

by Centurion. To the extent a response is required, Centurion states that it is without

sufficient information to form a belief as to the truth or falsity of the allegations and, as a

result, puts Plaintiff to his burden of proof. Centurion also refers to Plaintiff’s medical

records, which speak for themselves.

       19.    Paragraph 19 is directed at another party such that no response is required

by Centurion. To the extent a response is required, Centurion states that it is without

sufficient information to form a belief as to the truth or falsity of the allegations and, as a



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result, puts Plaintiff to his burden of proof. Centurion also refers to Plaintiff’s medical

records, which speak for themselves.

       20.    Paragraph 20 is directed at another party such that no response is required

by Centurion. To the extent a response is required, Centurion states that it is without

sufficient information to form a belief as to the truth or falsity of the allegations and, as a

result, puts Plaintiff to his burden of proof. Centurion also refers to Plaintiff’s medical

records, which speak for themselves.

       21.    Paragraph 21 is directed at another party such that no response is required

by Centurion. To the extent a response is required, Centurion states that it is without

sufficient information to form a belief as to the truth or falsity of the allegations and, as a

result, puts Plaintiff to his burden of proof. Centurion also refers to Plaintiff’s medical

records, which speak for themselves.

       22.    Paragraph 22 is directed at another party such that no response is required

by Centurion. To the extent a response is required, Centurion states that it is without

sufficient information to form a belief as to the truth or falsity of the allegations and, as a

result, puts Plaintiff to his burden of proof. Centurion also refers to Plaintiff’s medical

records, which speak for themselves. The remaining portions of this Paragraph contain

medical conclusions to which no response is required or which require medical expert

analysis.




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                               COUNT ONE
                      CIVIL RIGHTS VIOLATIONS BY
                   DEFENDANTS MN DOC AND CENTURION

      23.    In response to Paragraph 23, Centurion refers to its responses above.

      24.    Paragraph 24 is denied.

      25.    Paragraph 25 is denied.

                             COUNT TWO
       CIVIL RIGHTS VIOLATIONS BY DEFENDANT DR. ROBERSON
             IN HIS OFFICIAL AND INDIVIDUAL CAPACITIES

      26.    In response to Paragraph 26, Centurion refers to its responses above.

      27.    Paragraph 27 contains legal conclusions to which no response is required.

Paragraph 27 is also directed at another party such that no response is required by

Centurion.

      28.    Paragraph 28 contains legal conclusions to which no response is required.

Paragraph 28 is also directed at another party such that no response is required by

Centurion.

      29.    Paragraph 29 contains legal conclusions to which no response is required.

Paragraph 29 is also directed at another party such that no response is required by

Centurion.

                          COUNT THREE
             NEGLIGENCE UNDER MINNESOTA COMMON LAW
                     AGAINST ALL DEFENDANTS

      30.    In response to Paragraph 30, Centurion refers to its responses above.

      31.    Paragraph 31 contains legal conclusions to which no response is required.



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       32.    Paragraph 32 is denied.

       33.    Paragraph 33 is denied.

       34.    Paragraph 34 is denied.

       35.    Paragraph 35 is denied.

                                             ***

       Plaintiff’s Prayer for Relief (Paragraphs 36-39) contains no allegations to which a

response is required. To the extent a response is required, Centurion denies that Plaintiff

is entitled to any of the relief sought from Centurion in the Prayer for Relief portion of its

Complaint.

                              AFFIRMATIVE DEFENSES

       Without assuming the burden of proof on any matter for which the burden rests

upon Plaintiff or waiving defenses not raised below, Centurion asserts the following

defenses with respect to the Complaint:

                                First Affirmative Defense

       Plaintiff’s Complaint fails to state a claim against Centurion for which relief can

be granted.

                               Second Affirmative Defense

       Plaintiff may not recover damages to the extent Plaintiff failed to mitigate his

alleged damages.

                                Third Affirmative Defense

       Any recovery by Plaintiff may be barred or reduced by the negligence, fault,



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carelessness, or intentional acts of others for whose conduct Centurion is not responsible.

                               Fourth Affirmative Defense

       Plaintiff’s damages, if any, are the result of intervening and/or superseding events,

occurrences, or conditions that were not caused by Centurion, and for which Centurion is

not liable.

                                Fifth Affirmative Defense

       Plaintiff’s damages, if any, are the result of pre-existing and/or subsequent

medical conditions for which Centurion is not responsible.

                                Sixth Affirmative Defense

       Plaintiff’s causes of action are barred for want of a legal duty.

                              Seventh Affirmative Defense

       Plaintiff has failed to satisfy the requirements of Minn. Stat. § 145.682, and

demand is hereby made for compliance.

                               Eighth Affirmative Defense

       Plaintiff’s claims may be barred by Minnesota Statute, including, but not limited

to, Minn. Stat. § 3.736 and/or the Prison Litigation Reform Act of 1995 and Minn. Stat. §

563.

                                Ninth Affirmative Defense

       Plaintiff’s claims may be barred for failure to exhaust administrative remedies.




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          Centurion is continuing its investigation and study of all facts and circumstances

of the subject matter of Plaintiff’s Complaint and, accordingly, reserves the right to

amend, modify, revise, or supplement its Answer, and to plead such further defenses and

take such further actions as it may deem proper and necessary in its defense upon the

completion of such investigation and study.

          WHEREFORE, Centurion respectfully requests that this Court:

   (i)       Enter judgment dismissing Plaintiff’s Complaint with prejudice;

   (ii)      Award Centurion its attorneys’ fees, costs, and disbursements incurred; and

   (iii)     Award Centurion any and all other relief that the Court deems just and
             equitable.


Date: November 15, 2018                     LARSON • KING, LLP

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